                                          Case 2:21-cv-00183-cr Document 1-1 Filed 07/09/21 Page 1 of 2

JS 44 (Rev. 08/18)
                                                                                         CIVIL COVER SHEET
The JS 44 civil cover sheet and the infonnation contained herein _neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court This fonn, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of m1ttatmg the ctvtl docket sheet (\'FF INST/ii/( 'T/ONS ON NhXF l'A<iE OF 7HIS rORM)

I. (a) PLAINTIFFS                                                                                                                 DEFENDANTS Hilton Franchise Holding LLC, Hilton Worldwide
                                                                                                                                 Holding, lnc.,Hospitality Cover Plus LLC, Hilton Domestic Operating
 ANDERSEN, STEVEN J.                                                                                                             Company, Inc., and 1378 Putney LLC
     (b) County of Residence ofFirst Listed Plaintiff                           _S_c_o_tt_,_K_Y_______                              County of Residence of First Listed Defendant                          Fairfax, VA
                                          (hXCEPTIN £1.S PIAINTIFH'ASl,S)                                                                                               (IN 11.S. l'/AINTil·FC'AStSONI.Y)
                                                                                                                                    NOTE         IN LAND CONDEMNATION CASES. USE THE LOCATION OF
                                                                                                                                                 THE TRACT OF LAND INVOLVED.


   (C) Attorneys (Firm Name, Address. and Telephone Number)                                                                          Attorneys (lfKnmrn)
 See Attachment



II. BASIS OF JURISDICTION (Place an "X"1nOneRoxOnl,11                                                             III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an                                                   "X" ,n One Roxji,r Plainllff
                                                                                                                               (N>r /)1\'ersity Cases Only)                                                 and One Rox Ji>r Defendant)
0 I      U.S. Government                         0 3    Federal Question                                                                                       PTF        DEF                                               PTF       DEF
            Plaintiff                                     ({ I.S. (]ol'ernmenl Nol a J>arty)                            Citizen of This State                 O   I       0            Incorporated or Principal Place       O 4      0 4
                                                                                                                                                                                         of Business In This State

0 2      U.S. Government                         ~4     Diversity                                                       Citizen of Another State                           0     2     Incorporated and Principal Place            0 5        ~5
            Defendant                                     (!nd1cate C1ll::ensh1p nfPurt,es in Item If!)                                                                                   of Business In Another State

                                                                                                                        Citizen or Subject of a               0            0           Foreign Nation                              0 6        0 6
                                                                                                                          Forei n Count
IV NATURE OF SUIT (Place an                                "X" ,n One Rox Only)                                                                                            Click here for: Natur~ ol Suit C\)J_: De,cnnt1<rns.
I.           •••~,.•·uACf"           },                                                                                                               ALTY:                                                                                             I
0  110 Insurance                                  PERSONAL INJURY                      PERSONAL INJURY                  0 625 Drug Related Seizure                  0 422 Appeal 28 USC I 58                 0 375 False Claims Act
0  120 Marine                                0 310 Airplane                        O 365 Personal Injury -                    of Property 21 use 881                0 423 Withdrawal                         0 376 Qui Tam (31 USC
0  130 Miller Act                            0 315 Airplane Product                      Product Liability              0 690 Other                                            28 USC 157                            3729(a))
0  140 Negotiable Instrument                        Liability                      O 367 Health Care/                                                                                                        0   400 State Reapportionment
0  150 Recovery of Overpayment               0 320 Assault, Libel &                      Pharmaceutical                                                                                                      0   410 Antitrust
       & Enforcement of Judgment                    Slander                              Personal Injury                                                            0 820 Copyrights                         0   430 Banks and Banking
0 I 51 Medicare Act                          0 330 federal Employers'                    Product Liability                                                          0 830 Patent                             0   450 Commerce
•  152 Recovery of Defaulted
       Student Loans                         •
                                                    Liability
                                               340 Marine
                                                                                   O 368 Asbestos Personal
                                                                                         Injury Product
                                                                                                                                                                    0 835 Patent - Abbreviated
                                                                                                                                                                               New Drug Application
                                                                                                                                                                                                             0
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                                                                                                                                                                                                                 460 Deportation
                                                                                                                                                                                                                 470 Racketeer Influenced and
       (Excludes Veterans)                   0 345 Marine Product                        Liability                                                                  0 840 T radernark                                Corrupt Organizations
CJ 153 Recovery of Overpayment                      Liability                       PERSONAL PROPERTY                  •--R             1                                                      TY            0   480 Consumer Credit
         of Veteran's Benefits               0 350 Motor Vehicle                   O 370 Other Fraud      O 710 Fair Labor Standards                                0    861 HI A ( 1395ft)                  0   485 Telephone Consumer
0    160 Stockholders' Suits                 0 355 Motor Vehicle                   O 371 Truth in Lending       Act                                                 0    862 Black Lung (923)                        Protection Act
0    190 Other Contract                            Product Liability               O 380 Other Personal   O 720 Labor/Management                                    0    863 DlWC/DlWW (405(g))              0   490 Cable/Sat TV
0    195 Contract Product Liability          ~ 360 Other Personal                         Property Damage                     Relations                             0    864 SSID Title XVI                  0   850 Securities/Commodities/
0    I96 Franchise                                 Injury                          CJ 385 Property Damage               O 740 Railway Labor Act                     0    865 RS! (405(g))                            Exchange
                                             0 362 Personal Injury -                      Product Liability             O 751 Family and Medical                                                             0   890 Other Statutory Actions
                                                   Medical Malpractice                                                        Leave Act                                                                      0   891 Agricultural Acts
               PiR~---~-:v:rv·...,___-+--="="•.,Lu"=Hl.,01HTS...,..,__-!i-J.PIU='so..,...,N.,.E..R,_P,_••..,.n·1....,·m.,..,..lN,s'""-lo 790 Other Labor Litigation
•i---:R:,EAL-,.,-                                                                                                                                                                                            0   893 Environmental Matters
 0 2 IO Land Condemnation               0 440 Other Civil Rights                 Habeas Corpus:                                      0 791 Employee Retirement                      0 870 Taxes (U.S. Plaintiff
                                                                                                                                                                                                             0   895 Freedom oflnformation
 0 220 Foreclosure                      0 441 Voting                          O 463 Alien Detainee                                           Income Security Act                          or Defendant)              Act
 :J 230 Rent Lease & Ejectment          0 442 Employment                           •
                                                                                 510 Motions to Vacate                                                                                  I IRS~Third Party                O
                                                                                                                                                                                                                 896 Arbitration

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 0 240 Torts to Land                    0 443 Housing/                                   Sentence
 0 245 Tort Product Liability
 'J 290 All Other Real Property
                                                Accommodations                • 530 General
                                        0 445 Amer. w/Disabilities - 0 535 Death Penalty                                            1--""""IMMl""""""GRA"""',.,..Tl"""'ON"'"'"--.,i
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                                                                                                                                                                                                                         ~ 1...{A;ency Decision
                                                Employment                       Other:                                              0 462 Naturalization Application                                                    O 950 Constitutionality of
                                        0 446 Amer. w/Disabilities - 0 540 Mandamus & Other                                          0 465 Other Immigration
                                                                                                                                              Actions
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                                                                                                                                                                                                                                 State Statutes
                                                Other                         O 550 Civil Rights
                                        0 448 Education                       O 555 Prison Condition
                                                                              0 560 Civil Detainee -                                                                                U.S. DISF?'CT CO .
                                                                                            Conditions of
                                                                                            Confinement                                                                   EU~urisror,J,                  viRT
V. OR.I.GIN             (Placean"X"m/JneRoxOnly)
~I       Original              D 2 Removed from                        D 3       Remanded from                   D 4 Reinstated or             D 5 Transferred from                    D 6 Multidistrict                 D 8 Multidistrict
         Proceeding                State Court                                   Appellate Court                     Reopened                      Another District                        Litigation -                      Litigation -
                                                                                                                                                        (,pec,fy)                          Transfer                          Direct File
                      Cite the U.S. Civil Statute under which you are filing (Do notcitejurl,dictional statutes unless diversity):
                       28 U.S.C. 1332 - Diversity
VI. CA USE OF ACTION 1-B-r-ie-f-de_s_c-rip-t-io_n_o_f_ca_u_s-e:     of_
                                                               _ __._ Citizenship
                                                                        _ _ _..,_Jurisdiction
                                                                                  _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                       Breach of Contract & Privacy and Libel & Slander
VII. REQUESTED IN                                  0 CHECK IF THIS IS A CLASS ACTION                                        DEMAND$                                               CHECK YES only if demanded in complaint:
     COMPLAINT:                                           UNDER RULE 23, FRCv P                                                                                                   JURY DEMAND:         ~ Yes       No               •
 VIII. RELATED CASE(S)
                                                        (See 111.,;frucflom):
       IFANY                                                                       JUDGE
 DATE                                                                                  SIG!\A TLIRE OF ATTORNEY OF RECORD


 FOR OFFICE usE ONLY              aJ-t b I l
     RECEIPT#       ~i ~                  AMOUNT             4{)~. oo                       APPL Yl~G IFP                                           JUDGE         10 I
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                                           Case 2:21-cv-00183-cr Document 1-1 Filed 07/09/21 Page 2 of 2

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                                                                                       CIVIL COVER SHEET
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purpose of m1ttatmg the CIVIi docket sheet. (.~Fl, /NS1J/{l(T/ONS ON Nl:XT PACiF OF ]HIS FORM.}

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                                                                                                                         Holding, lnc.,Hospitality Cover Plus LLC, Hilton Domestic Operating
    ANDERSEN, STEVEN J.                                                                                                  Company, Inc., and 1378 Putney LLC
     (b) County ofResidence of First Listed Plaintiff                         Scott, KY                                    County of Residence of First Listed Defendant                              Fairfax, VA
                                                                              ------------
                                           (l:X Cl:PT!NUS Pl.A!NTIFFCASl:S)                                                                                     (IN US P!.AINTIFF CASFS ONU)
                                                                                                                           NOTE             IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                            THE TRACT OF LAND INVOLVED.

      (C) Attorneys (Firm Name, Address, and Telephone Number)                                                             Attorneys (/fKno,rn)
    See Attachment



II. BASIS OF JURISDICTION (/'lace an "X" in One Box Only)                                                  III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" mOneHoxfi>rPlain11ff
                                                                                                                      (For /Jil'ers1ty Cases On(v)                                                       and One Box for Defendant)
0 I        U.S. Government                      0 3      Federal Question                                                                        PTF               DEF                                                  PTF      DEF
              Plaintiff                                    (U.S. (iol'ernment Not a /'art)')                     Citizen of This State            O I               O         I     Incorporated or Principal Place       O 4     0 4
                                                                                                                                                                                      of Business In This State

0 2        U.S. Government                      ~ 4 Diversity                                                    Citizen of Another State                           0        2      Incorporated and Principal Place          0 5       f!f. 5
              Defendant                                    (!nd,cate C111zensh1p of Par/Jes ,n Item /1/)                                                                               of Business In Another State

                                                                                                                                                          0 3       0               Foreign Nation                            0 6      0 6

IV NATURE OF SUIT (Place an "X" ,n One Hox Only)                                                                                                                      I k here or: Natur~ ol Suit Co Jc lkscm,t1ons.
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0       1 IO Insurance                          PERSONAL INJURY                    PERSONAL INJURY               0 625 Drug Related Seizure                 0 422 Appeal 28 USC 158                    0 375 False Claims Act
0       120 Mruine                            0 310 Airplane                     0 365 Personal Injury -                 of Property 21 USC 881             0 423 Withdrawal                           0 376 Qui Tam (31 USC
0       130 Miller Act                        0 315 Airplane Product                    Product Liability        0 690 Other                                             28    use 157                             3729(a))
                                                                                 0 36 7 Health Care/                                                                                                   0
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0       I40 Negotiable Instrument                    Liability                                                                                                                                                400 State Reapportionment
0       150 Recovery of Overpayment           0 320 Assault Libel &                     Phannaceutical                                                                                                 0      4 IO Antitrust
             & Enforcement of Judgment              Slander                             Personal Injury                                                     0 820 Copyrights                           0      430 Banks and Banking
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             Student Loans                    0 340 Marine                              Injury Product                                                                  New Drug Application           0      470 Racketeer Influenced and

    0
             (Excludes Veterans)
        153 Recovery of Overpayment
                                              0 345 Mruine Product
                                                     Liability
                                              0 350 Motor Vehicle
                                                                                        Liability
                                                                                  PERSONAL PROPERTY                                1:.4111.IR,,
                                                                                                                                                            0 840 Trademark

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             of Veteran's Benefits                                               0 370 Other Fraud               O 7 IO Fair Labor Standards                    861     Hl A (1395ft)                         485 Telephone Consumer
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                                              0 362 Personal Injury -                   Product Liability        0   751 Frunily and Medical                                                              0   890 Other Statutory Actions
                                                    Medical Malpractice                                                   Leave Act                                                                       0   891 Agricultural Acts
I           -KU                     •~<,                                          -•-•Nli',R                     0   790 Other Labor Litigation                  ""'D                T                    0   893 Environmental Matters
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 0      290 All Other Real Property            0 445 Amer. w/Disabilities -      0   535 Death Penalty                           ·•TJON                                                                            Agency Decision
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                                                     Other                       0   550 Civil Rights                    Actions
                                               0 448 Education                   0   555 Prison Condition
                                                                                 0   560 Civil Detainee -
                                                                                         Conditions of
                                                                                         Confinement

V. 0 RIG IN                   (Place an "X" ,n One Rox On(i)
~I         Original                D 2 Removed from                   D 3       Remanded from              D 4   Reinstated or             D 5     Transferred from                 D 6 Multidistrict               D 8 Multidistrict
           Proceeding                      State Court                          Appellate Court                  Reopened                          Another District                        Litigation -                    Litigation -
                                                                                                                                                   (,pecify;                               Transfer                        Direct File
                                                   Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statute.I unless diversity):
                                                   28 U.S.C. 1332 - Diversity of Citizenship Jurisdiction
VI. CAUSE OF ACTION                                1  --------~'------'------------------------
                                                   Brief descri[>tion of cause:
                                                    Breach of Contract & Privacy and Libel & Slander
    VII. REQUESTED IN     0                               CHECK IF THIS IS A CLASS ACTION                            DEMAND$                                                      CHECK YES only if demanded in complaint:
         COMPLAINT:                                       UNDER RULE 23, F.R.Cv P                                                                                                 JURY DEMAND:                  :t!( Yes      • No
    VIII. RELATED CASE(S)
                                                      (~\'ee instructums):
          IF ANY                                                                 JUDGE                                                                           DOCKET NUMBER

    DATE       _1         I                                                          SIGNATURE OF ATTORNEY OF             ~D
              ,'l.,v-'.,,,,,.,,,    7                                                                                          '     .
    FORoFijcE usdoNLY

        RECEIPT#                           AMOUNT                                        APPLYING IFP                                             JUDGE                                    MAG.JUDGE
